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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
EPSILON ENERGY USA, INC.,   :                         Civil No. 1:21-CV-00658
                            :
        Plaintiff,          :
                            :
        v.                  :
                            :
CHESAPEAKE APPALACHIA, LLC, :
                            :
        Defendant.          :                         Judge Jennifer P. Wilson
                                           ORDER
       This case is currently scheduled for a hearing on Plaintiff Epsilon Energy

USA Inc.’s motion for preliminary injunction. At the conclusion of a court-

ordered briefing schedule, Epsilon filed a reply brief in support of the motion for

preliminary injunction on May 7, 2021. 1 (Doc. 55-12.) In the reply brief, Epsilon

made several legal arguments in support of its motion and disclosed that it planned

to introduce the testimony of two experts, Dorsey Roach and Bruce Kramer, during

the preliminary injunction hearing. (Id. at 12 n.1.) Defendant Chesapeake

Appalachia, LLC immediately moved to strike the reply brief and to bar the

introduction of extrinsic evidence during the hearing and filed a brief in support of

its motion. (Docs. 56–57.) In connection with its motion, Chesapeake also filed a




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  The reply brief was filed on May 7, 2021 because it was mailed to the court in conjunction with
a motion to file the reply brief under seal. A courtesy copy of the reply brief was provided via
email to the court and opposing counsel on May 6, 2021.
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letter requesting an immediate telephone conference with the court and opposing

counsel. (Doc. 58.)

      Given the expedited nature of the case and the fact that the preliminary

injunction hearing was scheduled to begin four days later, the court convened a

telephone conference later on May 7, 2021 to address the motion to strike and

preclude extrinsic evidence. During the call, the court advised counsel that the

motion would be addressed in two parts. The first part of the motion was the

request to strike Epsilon’s reply brief. (See Doc. 57, pp. 4–5.) The court directed

Epsilon’s counsel to file a response brief limited to that issue by Monday, May 10,

2021 at 9:00 a.m. The court also gave Chesapeake’s counsel permission to file a

reply brief by no later than Wednesday, May 12, 2021, at 5:00 p.m.

      The second part of the motion was Chesapeake’s request to preclude Epsilon

from introducing expert testimony relevant to the interpretation of the pertinent

contractual language at the preliminary injunction hearing, namely, the testimony

of Roach and Kramer. (See id. at 5–7.) Chesapeake raises both procedural and

evidentiary objections to the introduction of Roach and Kramer’s testimony.

Chesapeake’s procedural argument is that Epsilon should be precluded from

introducing Roach and Kramer’s testimony because Epsilon had not disclosed

Roach and Kramer as experts in preparation for the preliminary injunction hearing.

(Doc. 57, pp. 5–6.) Chesapeake’s evidentiary argument is that extrinsic evidence

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may only be introduced when the language of the underlying contract is

ambiguous, and no such ambiguity is present in this case. (Id. at 5–7.)

      The court conditionally resolved Chesapeake’s evidentiary argument, noting

that, to the extent there was an evidentiary objection raised to the testimony of

Roach and Kramer, the court would conditionally allow the testimony to proceed

subject to the court’s later ruling as to whether an ambiguity in the contract

allowed the court to consider that testimony in resolving the motion for

preliminary injunction.

      The court heard argument from counsel regarding the procedural objection

raised by Chesapeake. The court noted that Federal Rule of Civil Procedure

26(a)(2) does not facially apply in the context of a preliminary injunction hearing

and that Chesapeake had not provided any authority in support of the assertion that

disclosure of an expert report is required prior to introducing expert testimony at a

preliminary injunction hearing. Chesapeake acknowledged that it did not have any

authority to support the proposition that Epsilon was required to disclose Roach

and Kramer’s testimony, but argued that it was fundamentally unfair to allow

Epsilon to introduce the testimony given the particular circumstances of this case.

      The court acknowledged some concern with respect to the timing of

Epsilon’s expert disclosure, and accordingly asked Epsilon’s counsel to proffer

some information as to its retention of Roach and Kramer as experts. In response

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to questions from the court, Epsilon’s counsel acknowledged that Epsilon was

aware of the parties’ differing interpretations of the underlying joint operating

agreements (“JOAs”) as early as January 2021 and that it had retained Roach and

Kramer as experts around the time that it filed Epsilon Energy USA, Inc. v.

Chesapeake Appalachia, LLC, No. 1:21-CV-00433, in March 2021.

      The court concluded that it is fundamentally unfair and unduly prejudicial to

allow Epsilon to introduce the expert testimony of two witnesses without providing

adequate opportunity to Chesapeake to prepare for such testimony under the

circumstances present in this case. The court specifically noted that Epsilon had

been aware of the dispute as to the language of the JOAs for a long time and that

the parties and the court had been working on an expedited timeline to avoid any

mootness concerns. The court concluded that disclosure of experts on the eve of a

preliminary injunction hearing under those circumstances raised fundamental

fairness concerns and prejudice to Chesapeake that could not be cured if the

experts were allowed to testify during the hearing on the scheduled date.

      As a result, the court presented Epsilon’s counsel with two options: (1)

forego expert testimony and proceed with the preliminary injunction hearing as

scheduled on May 11, 2021 and May 12, 2021; or (2) continue the preliminary

injunction hearing to July 27, 2021 through July 29, 2021. Epsilon’s counsel

requested time to confer with his client, and the court directed Epsilon’s counsel to

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docket a letter indicating which option it had chosen by 9:00 a.m. on Monday, May

10, 2021.

      Accordingly, consistent with the court’s directions to counsel during the

May 7 phone conference, IT IS ORDERED AS FOLLOWS:

   1. On or before Monday, May 10, 2021 at 9:00 a.m., Epsilon shall file a brief

      in opposition to the portion of Chesapeake’s motion that seeks to strike the

      reply brief in support of Epsilon’s motion for preliminary injunction.

      Chesapeake may file a reply brief on this issue on or before Wednesday,

      May 12, 2021 at 5:00 p.m.

   2. On or before Monday, May 10, 2021 at 9:00 a.m., Epsilon shall file a letter

      indicating whether it has chosen to (1) forego expert testimony and proceed

      with the preliminary injunction hearing as scheduled on May 11, 2021 and

      May 12, 2021; or (2) continue the preliminary injunction hearing to July 27,

      2021 through July 29, 2021.

                                      s/Jennifer P. Wilson
                                      JENNIFER P. WILSON
                                      United States District Court Judge
                                      Middle District of Pennsylvania
Dated: May 8, 2021




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